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             UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF FLORIDA
                                A/t>f, r111=.1UJ   DIVISION


                                           CIVIL RIGHTS COMPLAINT FORM
                        TO BE USED BY PRISONERS IN ACTIONS UNDER 42 U.S.C. § 1983




           Inmate# l) 3 <f5 35- ¥
            (Enter full name of Plaintiff)


                                                                                                                    <:"/-;;J_o//) ~Cr-~P'V '87311'
           vs.                                                                                          CASE NO: 3
                                                                                                                 _ 6 _ _ _ _ __
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                                                                                                    .
                                                                       .                .-..                  (To be assigned by Clerk)
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          Do..v'c\ A G\~~ Ju.<;i3e..-
          (Enter name and title of each Defendant.
          If additional space is required, use the
          blank area below and directly to the right.)




                             ANSWER ALL QUESTIONS ON THE FOLLOWING PAGES:




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      I.      PLAINTIFF:

      State your full name, inmate number (if applicable), and full mailing address in the lines below.

      Name of Plaintiff:
      Inmate Number
      Prison or Jail:         J()c,..y.o ~orr-e~i~<a,~~ J_Vls+:+v...'\-~ 0 "'-
     Mailing address:         '6£18}4 l/,s✓ flwY ;;..'7 we..sr
                              Mt:< y-o ~/q 3:::?..D Ioli?
                                  "

     11.     DEFENDANT(S):

     State the name of the Defendant in the first line, official position in the second line, place of
     employment in the third line, and mailing address. Do the same for every Defendant:

     (1)     Defendant's name:        ::;Se.v--r·'j    B /VI~ l\eQ"""
             Official position:     'Qe-te.<!..\;-\ \J-e..-
             Employed at:
                                                            J  I ' N' De-p~{"~"\(v,..--Q..\1\....--\-
                                    L e.-v 'I C.oL(.""'\-, S -z~r-l t-,
             Mailing address:       3 .5.S S, C!.Cl'-'~-f .Sire:. e. +
                                    ,6ron£>ol'l I r l 3:i...~ 1/
                                                                               ,_ -f   .,,.crflorne.)/
     (2)     Defendant's name:      G/e.     V\. "'-    \8 -r-t Z:C...V....   Sr~ e.
             Official position:     s-fC</-e.. /1 tforn e y
             Employed at:          Le. v / <!..oLA..v--..~ '/
             Mailing address:      36S S , ~Oltr+ s+v---e.~
                                    /3roYJSoh.1          rl 3::LbZ.I
     (3)     Defendant's name:        Qo-,v i' d       A- ~ lG\.11\t
            Official position:        T u.d :1 ~
            Employed at:           Le.. V~ <'.'.!..o ~IA.:\-1
            Mailing address:       3ss ,.5 {!_01..<rf s../-re.e. f--'
                                   J3r~ nso,r,, rl s.2.. b 2-/



            ATTACH ADDITIONAL PAGES HERE TO NAME ADDITIONAL DEFENDANTS




                                                            2
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111.    EXHAUSTION OF ADMINISTRATIVE REMEDIES

Exhaustion of administrative remedies is required prior to pursuing a civil rights action
regarding conditions or events In any prison, jail, or detention center. 42 U.S.C. § 1997e(a).
Plaintiff Is warned that any claims for which the administrative grievance process was not
completed prior to filing this lawsuit may be subject to dismissal.

IV.     PREVIOUS LAWSUITS

NOTE: FAILURE TO DISCLOSE ALL PRIOR CIVIL CASES MAY RESULT IN THE DISMISSAL OF THIS
CASE. IF YOU ARE UNSURE OF ANY PRIOR CASES YOU HAVE FILED, THAT FACT MUST BE
DISCLOSED AS WELL.

        A.    Have you initiated other actions in state court dealing with the same or similar
              facts/iss~ involved in this action?
              Yes( ,-1'                     No( )

              1.        Parties to previous action:
                        (a)     Plaintiff(s): Gr'?-f't:>r,J/     /2}/9,., d
                     (b)        Defendant(s):    Te..~.,... 'I
                                                            >
                                                                  JY1 i' I I~ r'
             2.      Name of judge:________                                Case#: ?'G'-')....o//- e..~-CJt>CJO "3/"9--
             3.      County and judicial circuit: ~ ~v'/         C!.o~t--;         ~-#- JI,( d; c.~ c.-.\ e~ r'-'-'-~+.
             4.      Approximate filing date: .3 / ;)..z) / .;2..b I I
             5.      If not still pending, date of dismissal:       ¥/ 3 z; / ,;;i._,;p / /
             6.      Reason for dismissal:    ,6gr .bY II ee../y
             7.      Facts and claims of case: ~4/se.. /lrr~ /                     /4..&e.. / .nt ,P/'/ So /??e/J+

                     (Attach additional pages as necessary to list state court cases.)

       B.    Have you initiated other actions in federal court dealing with the same or similar
             facts/issues involved in this action?

             Yes(   )                           No(     )

             1.     Parties to previous action:
                    a.      Plaintiff(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    b.         Defendant(s): _ _ _ _ _ _ _ _ _ _ _ _ __
             2.     District and judicial division: _ _ _ _ _ _ _ _ _ _ _ _ _ __
             3.     Name of judge: _ _ _ _ _ _ __                         Case#: _ _ _ _ _ __
             4.     Approximate filing date: _ _ _ _ _ _ _ _ _ _ _ __
             5.     If not still pending, date of dismissal: _ _ _ _ _ _ __
             6.     Reason for dismissal: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

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        7.        Facts and claims of case:
                                                 -----------------
        (Attach additional pages as necessary to list other federal court cases.)
 C.    Have you initiated other actions (besides those listed above in Questions (A) and
       (BJ) in either state or federal court that relate to the fact or manner of your
       incarceration (including habeas corpus petitions) or the conditions of your
       confinement (including civil rights complaints about any aspect of prison life,
       whether it be general circumstances or a particular episode, and whether it involved
       excessive f~e or some other wro~g)?         .

       Yes( ✓                              No(      )

If YES, describe each action in the space provided below. If more than one action, describe
all additional cases on a separate piece of paper, using the same format as below.

       1.         Parties to previous action:
                  a.      Plaintiff(s):
                  b.      Defendant(s):
       2.         District and judicial division:
       3.      Name of judge:                                  Case#:
       4.      Approximate filing date:
       5.      If not still pending, date of dismissal:
       6.      Reason for dismissal:
       7.      Facts and claims of case:


              (Attach additional pages as necessary to list cases.)

D.     Have you ever had any actions in federal court dismissed as frivolous, malicious,
       failing to state a claim, or prior to service? If so, identify each and every case so
       dismissed:

       Yes(   )

       1.     Parties to previous action:
              a.      Plaintiff(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              b.         Defendant(s): _ _ _ _ _ _ _ _ _ _ _ _ __
      2.      District and judicial division: _ _ _ _ _ _ _ _ _ _ __
      3.      Name of judge: _ _ _ _ _ _ _ _ _ Case Docket# _ _ _ __
      4.      Approximate filing date:                        Dismissal date: _ _ _ __
      5.      Reason for dismissal: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

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                  6.        Facts and claims of case: /.:rl.se-     /h·rssf I ,,C-,::,./se~Pr-/so/1h1-<!..r-P
                            Deft;,r,n -h,'o// or C/rc,roder               /4~<=- /h;see,~'o,;,
                            (Attach additional pages as necessary to list cases.)


 V.      STATEMENT OF FACTS:
 State briefly the FACTS of this case. Describe how each Defendant was involved and what each person did
 or did not do which gives rise to your claim. In describing what happened, state the names of persons
 involved, dates, and places. Do not make any legal arguments or cite to any cases or statutes. You must set
 forth separate factual allegations in separately numbered paragraphs. You may make copies of this page if
 necessary to supply all the facts. Baning extraordinary circumstances, no more than frve (5) additional pages
 should be attached. (If there are facts which are not related to this same basic incident or issue, they
 must be addressed in a separate civil rights complaint.)


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           VI.            STATEMENT OF CLAIMS:
           State what rights under the Constitution, laws, or treaties of the United States you claim have been violated.
           Be specific. Number each separate claim and relate it to the facts alleged in Section V. If claims are not
           related to the same basic incident or issue, they must be addressed In a separate civil rights
           complaint.                                                               ~
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          VII.            RELIEF REQUESTED:
          State briefly what relief you seek from the Court. Do not make legal arguments or cite to cases/ statutes.
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          I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING STATEMENTS OF FACT,
          INCLUDING ALL CONTINUATION PAGES, ARE TRUE AND CORRECT.



             / J_ / 2. o/ /             :2.// f
                      (Date)


                                                     IF MAILED BY PRISONER:

          ' .. / .are (or certify, verify, or affirm) under penalty of perjury that this complaint was (check one):
          ~;ivered to prison officials for mailing or □ deposited in the prison's internal mail system on:
          the    :J 2     day of D      e t::.e /l--7b e- I'- , 20----l.fl



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